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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

BROWNSVILLE DIVISION
ELIDETT TORRES MOLINA §
§
VS. § CIVIL ACTION NO.
§ (Diversity)
SAM’S EAST, INC. §

NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(B) (DIVERSITY)
TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant, Sam’s East, Inc. hereby removes to this
Court the state court action described below.

l. On March 22, 2021, an action was commenced in the 103™ District Court of
Cameron County, Texas, entitled, Elidett Torres Molina vs. Sam’s East, Inc., in Cause Number
2021-DCL-01701. A copy of the suit is attached hereto as Exhibit A.

2. The first date upon which Defendant Sam’s East, Inc. received a copy of the said
complaint was March 29, 2021, when Defendant was served with a copy of the said complaint
and a citation from the said State Court. A copy of the citation issued is attached hereto as
Exhibit B. In accordance with Local Rule 81, the following constitutes all of the executed
process, pleadings, and orders served upon Plaintiff and Defendant in this action:

A) Plaintiff's Original Petition;

B) Copy of Citation issued to Defendant Sam’s East, Inc.;

C) Docket Sheet — State Court;

D) Defendant’s Original Answer and Affirmative Defenses to Plaintiff’s Original

Petition and Requests for Disclosure;

BE) Defendant’s Request for Jury Trial;

F) Defendant’s Certificate of Written Discovery; and

G) Plaintiff's First Amended Original Petition.

In addition and in accordance with the Local Rule, Defendant includes a copy of the
docket sheet of the state court matter a copy of which is attached hereto as Exhibit C.

3. This action is a civil action of which this Court has original jurisdiction under 28
U.S.C. §1332, and is one which may be removed to this Court by Defendant pursuant to the

provisions of 28 U.S.C. §1441(b) in that it is a civil action wherein the matter in controversy
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exceeds the sum of $75,000.00, exclusive of interest and costs, and is between citizens of
different states. On March 29, 2021, Plaintiff served upon Defendant, Plaintiff’s Original
Petition, a copy of which is attached hereto as Exhibit A. \n this Original Petition, Plaintiff
plead that she is seeking monetary relief between $250,000 and $1,000,000. As such, the amount
in controversy is in excess of $75,000.00, and removal is appropriate pursuant to 28. U.S. §
1441(b).

4, Defendant is informed and believes that Plaintiff was and still is a citizen of the
State of Texas and resides in Cameron County.

5, Defendant Sam’s East, Inc., was, at the time of the filing of this action, and still is
a corporation incorporated under the laws of the State of Delaware, having its principal place of
business in the State of Arkansas, and has been served summons and complaint in this action.

6. Copies of all pleadings, process, orders and other filings in the state-court suit are
attached to this notice as required by 28 U.S.C. §1446(a).

ve Venue is proper in this district under 28 U.S.C. §1441(a) because the state court
where the suit has been pending is located in this district.

8. Defendant will promptly file a copy of this notice of removal with the clerk of the
state court where the suit has been pending.

9, Plaintiff and Defendant demanded a jury in the state court suit.

10. ‘For the foregoing reasons, Defendant asks the Court to remove the suit to The

United States District Court, Southern District of Texas, Brownsville Division.

DATED: April 28, 2021

Respectfully Submitted,
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DAW & RAY, L.L.P.

/s/_ Jaime A. Drabek
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ATTORNEYS FOR DEFENDANT
SAM’S EAST, INC.

 

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing instrument has been
forwarded to all counsel of record by electronic mail on April 28, 2021, to-wit:

Michael J. Cisneros

Arturo Cisneros

THE CISNEROS LAW FIRM, L.L.P.
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McAllen, Texas 78501

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ATTORNEYS FOR PLAINTIFF
ELIDETT TORRES MOLINA

{s/ Jaime A. Drabek
Jaime A. Drabek
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THE STATE OF TEXAS §
§ AFFIDAVIT
COUNTY OF HIDALGO §

BEFORE ME, the undersigned authority, on this day personally appeared Ricardo G.
Benavides of McAllen, Hidalgo County, ‘Texas, who being by me duly sworn, deposes and says
that he is an attorney for Defendant in the present cause filed by Elideft Torres Molina; that he
has been authorized to make this Affidavit; and that he has read the foregoing Notice of Removal
and knows the contents thereof, and that the matters and facts therein contained are true and

correct.

FURTHER AFFIANT SAYETH NOT. -

 

Ricardo G. Benavides, AFFIANT

SWORN TO AND SUBSCRIBED before me on tnisdG day of OM ¢ , 2021.
ELIZABETH GARZA
otary Public, State of Texas 12 pb 4G

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